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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION

  TERRANCE ALDEN,                              )
                                               )
                 Plaintiff,                    )
                                               )
         v.                                    )       Cause No. 2:20-cv-00479-JPH-DLP
                                               )
  FEDERAL BUREAU OF PRISONS,                   )
  UNITED STATES,                               )
                                               )
                 Defendants.                   )

                     NOTICE OF SERVICE OF EXPERT REPORT

         In accordance with the Court’s Order Setting Pretrial Schedule and Discussing Discovery

  in Prisoner Litigation (Dkt. No. 82), defendants, the United States of America and the Federal

  Bureau of Prisons, by counsel, hereby inform the Court that on September 15, 2022, they served

  their Expert Disclosure on plaintiff, Terrance Alden, by mailing it to his docketed address.

  Defendants note that Plaintiff was released from BOP custody on September 2, 2022, and that

  they understand that he is being incarcerated by the State of New Jersey, but Plaintiff has not

  updated his address on the docket and Defendants could not find an address for him on the State

  of New Jersey’s inmate locator website. Once Defendants obtain Plaintiff’s current address, they

  will re-serve the Expert Disclosure.


                                                       Respectfully submitted,

                                                       ZACHARY A. MYERS
                                                       United States Attorney

                                               By:     /s/ Rachana N. Fischer
                                                       Rachana N. Fischer
                                                       Assistant United States Attorney
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on September 15, 2022, a copy of the foregoing was filed

  electronically. Notice of this filing was also sent by first class U.S. Mail, postage prepaid and

  properly addressed, to the following:

         TERRANCE ALDEN
         02595-135
         MCCREARY - USP
         MCCREARY U.S. PENITENTIARY
         Inmate Mail/Parcels
         P.O. BOX 3000
         PINE KNOT, KY 42635

                                                        /s/ Rachana N. Fischer
                                                        Rachana N. Fischer
                                                        Assistant United States Attorney

  Office of the United States Attorney
  Southern District of Indiana
  10 West Market Street, Suite 2100
  Indianapolis, IN 46204




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